      Case 3:20-cr-01631-DEB Document 27 Filed 01/12/21 PageID.65 Page 1 of 2


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                      UNITED STATES DISTRICT COURT
 8               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                   ) CASE NO. 20CR1631-DMS
11                                               )
                                                 ) ORDER AND FINDINGS OF
                 Plaintiff,                      ) FACT
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                                                 )
13   v.                                          )
                                                 )
     ARTURO CHAVARRIA,                           )
14
                                                 )
15               Defendant.                      )
                                                 )
16
17                                           )
18        1.    On December 9, 2020, the Chief United States District Judge of the
19 Southern District of California entered an Order suspending jury trials and other
20 proceedings scheduled to begin before January 11, 2021. See Order of the Chief
21 Judge No. 52A, In The Matter Of Renewed Suspension Of Jury Trials And Other
22 In-Person Proceedings During the COVID-19 Public Emergency (Revised) (OCJ
23 No. 52A). This Order, which is hereby incorporated by reference, was imposed
24 based on the California Regional Stay at Home Order issued on December 3, 2020,
25 detailing “an unprecedented surge in the level of community spread of COVID-19”
26 and the order issued by the County of San Diego on December 6, 2020,
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       Case 3:20-cr-01631-DEB Document 27 Filed 01/12/21 PageID.66 Page 2 of 2


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     implementing the state order. On January 4, 2021, the Chief Judge issued OCJ No.
 2
     52B, extending OCJ No. 52A to January 22, 2021.
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             2.   In light of the public health restrictions and in order to protect public
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     safety and prevent the spread of the COVID-19 virus, the Court suspended “all
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     proceedings under Federal Rule of Criminal Procedure 5.1” until at least January 22,
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     2021.
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             3.   However, under OCJ No. 52A, 52B, and Section 15002(b)(2)(A) of the
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     CARES Act, a Court presiding over a particular case can authorize the use of video
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     teleconferencing for a change of plea and sentencing hearing upon finding specific
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     reasons that the plea and sentencing cannot be further delayed without serious harm
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     to the interests of justice.   Federal Rule of Criminal Procedure 43(b)(2) also
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     authorizes video teleconferencing in misdemeanor cases.
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             4.   Based on the joint motion of the Government and Defendant Arturo
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     Chavarria—and specifically the representation that the parties intend to jointly
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     recommend a time-served custodial sentence—the Court finds that further delay in
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     Mr. Chavarria’s plea and sentencing hearing would cause serious harm to the
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     interests of justice. The Magistrate Judge is authorized to use video teleconferencing
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     for Defendant Chavarria’s change of plea and sentencing hearing.
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             IT IS SO ORDERED.
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21 Dated: January 12, 2021
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